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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 19-60963-CIV-COHN/SELTZER

 DANIEL MONCADA,

        Plaintiff,

 vs.

 BRIDGESTONE AMERICAS TIRE
 OPERATIONS, LLC,
 a foreign limited liability company,

        Defendant.
                                            /

                                 ORDER CLOSING CASE

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal

 with Prejudice [DE 9] (“Notice”). Plaintiff dismisses this case with prejudice pursuant to

 Federal Rule of Civil Procedure 41(a)(1)(A)(i).

        Accordingly, the Clerk of Court is hereby directed to CLOSE this case and DENY

 any pending motions as MOOT.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 13th day of June, 2019.




 Copies provided to counsel of record via CM/ECF
